                            IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE

  UNITED STATES OF AMERICA,                         )
                                                    )
                          Plaintiff,                )
                                                    )
  v.                                                )
                                                    )                   No. 3:20-CR-31-KAC-HBG
  ROBERT Z. WHIPPLE, III,                           )
                                                    )
                          Defendant.                )

                                   MEMORANDUM AND ORDER

            All pretrial motions have been referred to the undersigned pursuant to 28 U.S.C. § 636(b)

  for disposition or report and recommendation regarding disposition by the District Judge as may

  be appropriate. This case is before the Court on Defendant Robert Whipple’s Motion for Early

  Production of Jencks Material [Doc. 113] and Motion in Limine to Exclude Certain Messages from

  Evidence [Doc. 114], both filed on April 9, 2021. The parties appeared for a hearing on these

  motions 1 on May 17, 2021. Assistant United States Attorney LaToyia T. Carpenter appeared on

  behalf of the Government. Attorney Joshua D. Hedrick represented Defendant Whipple, who was

  also present.

       I.      EARLY PRODUCTION OF JENCKS MATERIALS

            Defendant asks the Court to require the Government to disclose Jencks material (witness

  statements and reports) before trial [Doc. 113]. Defendant acknowledges that the Jencks Act

  permits the Government to produce its witnesses’ statements or reports after the witness testifies

  on direct examination. 18 U.S.C. § 3500; see also Fed. R. Crim. P. 26.2. However, he argues that



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   The Court also heard evidence and argument on three motions to suppress evidence [Docs. 112,
  115, & 117] and a motion to reopen an earlier suppression hearing [Doc. 116]. The Court has
  entered a separate Report and Recommendation on these motions.


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  pretrial disclosure of this material is necessary to ensure a fair trial and to prevent repeated delays

  at trial.

              The Government responds [Doc. 121] that it cannot be compelled to disclose Jencks

  materials before trial. However, it states that it will provide any outstanding Jencks materials to

  the defense on the Friday before trial begins on the following Tuesday. The Government argues

  that Defendant has not provided a compelling basis for disclosure earlier than agreed. It observes

  that the crimes charged are inherently violent and that it has a compelling interest in protecting the

  identity and statements of its witnesses until the trial is imminent.

              At the May 17 motion hearing, Mr.         Hedrick agreed that the law supporting the

  Government’s position is stronger than that supporting the defense position. He stated that given

  the state of the law, this issue is likely resolved in favor of the Government.

              The Jencks Act provides that the Government cannot be compelled to produce its

  witnesses’ statements or reports until after the witness testifies on direct examination. 18 U.S.C.

  § 3500; see also Fed. R. Crim. P. 26.2. The Court cannot compel the Government to disclose

  Jencks Act materials at a time earlier than what the Act itself permits. United States v. Presser,

  844 F.2d 1275, 1283 (6th Cir. 1988); see also United States v. Algie, 667 F.2d 569, 571-72 (6th

  Cir. 1982). Although the Court possesses inherent power over the provision of discovery, it “c[an]

  not use its inherent power to compel the government to produce Jencks Act material prior to trial.”

  United States v. Perkins, No. 12–11–DLB–EBA, 2014 WL 3436074, *13 (E. D. Ky July 11, 2014)

  (citing Algie, 667 F.2d at 572).

              Defendant argues that excessive delays in the trial will occur if defense counsel must

  review Jencks materials after a witness’s testimony on direct examination. The Court’s scheduling

  order provides that “[t]he government is strongly encouraged to reveal Jencks Act materials to
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  defense counsel as soon as possible and well before the testimony of government witnesses in

  order to avoid undue interruptions of trials” [Doc. 16, ¶O]. Here, the Government has agreed to

  reveal Jencks Act materials on the Friday before trial begins the following Tuesday. The Court

  finds this agreement alleviates Defendant’s concerns about undue delays at trial. The Court also

  finds that disclosure four days before trial is appropriate due to the Government’s concerns about

  the effect of early disclosure on its witnesses, given the nature of the crimes charged.

           The Court finds that the Government has agreed to disclose Jencks Act materials four days

  before trial. To the extent Defendant seeks disclosure earlier than four days before trial, his motion

  [Doc. 113] is DENIED.

     II.      EXCLUSION OF FACEBOOK MESSAGES

           Defendant also moves the Court to exclude Facebook Messenger messages from his father

  accusing Defendant of stealing money from him [Doc. 114]. He argues that these messages, which

  were seized by law enforcement pursuant to a search warrant for his cellular telephone, are not

  admissible under Federal Rules of Evidence 401 through 404 and 801. He contends that the

  messages are hearsay, as defined by Rule 801 and do not come within any exception. He also

  contends they are not relevant under Rules 401 and 402, because they do not make any fact at issue

  more or less likely. He contends that the messages are inadmissible character evidence under Rule

  404 and that the risk of unfair prejudice from admitting these messages substantially outweighs

  any probative value under Rule 403.

           The Government responds [Doc. 123] that it does not intend to use the messages sent by

  Defendant’s father accusing Defendant of stealing money from the father’s bank account, unless

  the Defendant opens the door to this evidence by presenting testimony that he is trustworthy or

  that he does not steal.
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            At the May 17 hearing, Mr. Hedrick agreed with the Government’s position that the

  messages from his father would only be admissible for impeachment purposes. Mr. Hedrick said

  he was satisfied that the issue is resolved based on the pleadings [Doc. 137, Transcript of May 17,

  2021 hearing, p.6].

            The Court finds that the parties agree that the Government will not present the Facebook

  Messenger messages [Doc. 114-1] from Defendant’s father accusing Defendant of stealing money

  from his account in its case-in-chief. The parties also agree that the messages may be introduced

  as impeachment evidence, if the Defendant presents testimony that he is trustworthy or that he

  does not steal. Accordingly, the Court finds that Defendant’s motion [Doc. 114] is RESOLVED

  by agreement of the parties. If the Government decides that it will introduce the Facebook

  Messenger messages as impeachment evidence, it is DIRECTED to notify the defense and the

  District Judge of its intention to introduce this evidence out of the presence of the jury to give

  Defendant the opportunity to object, if appropriate, and the District Judge an opportunity to rule

  on any objection.

     III.      CONCLUSION

               For the reasons stated herein, the Court ORDERS as follows:

               (1) Defendant’s Motion for Early Production of Jencks Material [Doc. 113] is
                   DENIED, because the Government has agreed to provide Jencks Act materials four
                   days before trial; and




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           (2) Defendant’s Motion in Limine to Exclude Certain Messages from Evidence [Doc.
               114] is RESOLVED by the agreement of the parties that the Government will not
               introduce the Facebook Messenger messages by Defendant’s father accusing
               Defendant of stealing [see Doc. 114-1] in its case-in-chief at trial. The Government
               may introduce this evidence to impeach defense testimony that Defendant is
               trustworthy or does not steal. If the Government decides to use the Facebook
               Messenger messages as impeachment evidence, it is DIRECTED to notify the
               defense and the District Judge, out of the presence of the jury, of its intention to
               introduce this evidence.

        IT IS SO ORDERED.


                                             ENTER:



                                             United States Magistrate Judge




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